                      UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO


  UNITED STATES,
                                              Case No. 1:18-cr-00203-BLW

        Plaintiff,                            MEMORANDUM DECISION
                                              AND ORDER
         v.

  LONNIE PARLOR,

        Defendant.



                                INTRODUCTION
      Before the court is Defendant Lonnnie Parlor’s Motion for the Appointment

of Counsel to assist him with his request for compassionate release. (Dkt. 91). For

the reasons that follow, the Court will deny the motion.

                                    ANALYSIS

      Mr. Parlor seeks the appointment of counsel to assist him with is request for

compassionate release. There is no constitutional right to the assistance of counsel

in post-conviction proceedings. Pennsylvania v. Finley, 481 U.S. 551, 555 (1987)

(“The right to appointed counsel extends to the first appeal of right, and no

further.”). Rather, the District Court has the discretion to appoint counsel. United

States v. Harrington, 410 F.3d 598, 600 (9th Cir. 2005).



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      Mr. Parlor is incarcerated and asserts that, as a layman, he requires the

assistance of counsel in order to seek compassionate release pursuant to 18 U.S.C.

3582(c)(1)(A). Although the Court is sympathetic to the fact that incarcerated

persons face certain added difficulties when representing themselves pro se, these

circumstances do not warrant the appointment of counsel. Mr. Parlor has not

asserted or provided the sort of exceptional circumstances that must be present

before the Court will exercise its discretion to appoint counsel.

      Mr. Parlor’s Motion for Compassionate Release, (Dkt. 90), is articulate and

replete with citation to relevant caselaw surrounding motions for compassionate

release. The adequacy of the Motion itself also gives independent reason to deny

his request for counsel. Furthermore, there is no statute of limitations, nor is there a

limit on the number of requests an inmate can make under 18 U.S.C. 3582. Thus, it

is rare that there exist circumstances necessitating the appointment of counsel to

request compassionate release.

                                       ORDER

      IT IS ORDERED that:

      1.     Defendant’s Motion for Appointment of Counsel (Dkt. 91) is

DENIED.




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                                    DATED: May 16, 2022


                                    _________________________
                                    B. Lynn Winmill
                                    U.S. District Court Judge




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